I see no evidence of waiver. Hiram Cleveland Sternheimer was insured by the defendant association in a sum not exceeding $6,300, provided he shall sustain, during the continuance of his membership, in Columbia Council No. 294, and while in good standing, bodily injury effected through external, violent and accidental means, subject to the provisions and requirements of the constitution of the defendant order. *Page 302 
The insured met with a violent accidental death in the city of Columbia, S.C. on the 12th of September, 1912. The defendant refused to pay the claim for Mr. Sternheimer's death, on the ground that Mr. Sternheimer had failed to pay his dues and assessments. When the case was called for trial, the defendant claimed the right to open and reply, on the ground that the defendant had admitted the plaintiff case; had set up affirmatively the plea of forfeiture for nonpayment of the dues and assessments. The trial Judge allowed this claim, and the trial was held on the theory that the burden was on the defendant to show forfeiture by nonpayment of dues.
The deceased was, at the time of his death, a member of the Columbia Council, and there was nothing against him on the records of the local or general councils. The deceased had written a letter to the local treasurer to ascertain the amount due so that he could remit the amount. The deceased was a traveling man, and asked that the statement be sent to Sumter so that he might send a check from Sumter. The treasurer was absent, and the notice was not sent to Sumter. On the morning of the accident the local treasurer met the deceased on the streets of Columbia, and says that he urged the deceased to pay the amount due. The only person to whom the payment could have been made was this local treasurer. The local treasurer says that the deceased did not pay the dues, and was at the time of his death in default, and under the constitution of the order the policy was forfeited. Did the local treasurer tell the truth? There is no presumption of law that he did. State v. Taylor,57 S.C. 487, 35 S.E. 729, 76 Am. St. Rep. 575. The deceased was not suspended for nonpayment until after his death. The only person who could prove payment was dead. When, therefore, the defendant sets up an affirmative defense of forfeiture, it should be required to prove it by creditable evidence. The credibility of the witness was for the jury. They had before them the manner in which the *Page 303 
local treasurer's office was conducted and the personality of the witness, and it was a question for the jury whether the defendant had overcome its burden or not. In Stalling v.Insurance Co., 106 S.C. 317, 91 S.E. 290, there were two policies, one on the life of Mr. Stalling, the other on the life of Mrs. Stalling. Mr. Stalling paid the premium on one policy only. The agent said Mr. Stalling had paid the premium on Mrs. Stalling's policy, and not on his own. Mr. Stalling, the only witness, was dead. The trial Court directed a verdict for the defendant, and this Court reversed the judgment, saying that there was sufficient evidence to carry the case to the jury.
I think that there should be a new trial.